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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


     UNITED STATES OF AMERICA                 HON. JEROME B. SIMANDLE

          v.                              Criminal No. 14-699-1 (JBS)

     TOYE TUTIS,
                                                       OPINION
                Defendant.



APPEARANCES:

       Craig Carpenito, United States Attorney
       By: Diana Carrig, Assistant U.S. Attorney
       401 Market Street, 4th Floor
       P.O. Box 2098
       Camden, NJ 08101-2098

       Stanley O. King, Esq.
       King & King, LLC
       231 Broad Street
       Woodbury, NJ 08096
            Attorney for Defendant


SIMANDLE, U.S. District Judge:

       Presently before the Court is the second motion of Defendant

Toye    Tutis   to    withdraw   his   plea   of   guilty   pursuant   to   Rule

11(d)(1)(B), Fed. R. Crim. P., filed February 22, 2019.

I.     BACKGROUND AND PROCEDURAL HISTORY

       On November 1, 2016, after his jury had been selected,

Defendant Toye Tutis pled guilty under a written plea agreement to

being a leader or supervisor of a major drug trafficking conspiracy

and an associated money laundering conspiracy.              The sole remaining
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co-defendant was Tutis’ wife, Jazmin Vega, who also entered her

plea of guilty to the money laundering conspiracy charge on

November 1, 2016.

     Thereafter, Tutis moved to withdraw his guilty plea under

Rule 11(d)(1)(B), Fed. R. Crim. P. [Docket Item 443], raising two

main contentions.     Initially, he claimed he understood his plea

agreement to be a package deal with that of his wife, Jazmin Vega,

and that this Court conducted a Rule 11 hearing that failed to

include the colloquy required by United States v. Hodge, 412 F.3d

479 (3d Cir. 2005) (applicable to joint plea agreements to assure

each co-defendant’s knowing, intelligent, and voluntary acceptance

of the plea and waiver of jury trial rights).          Alternately, Tutis

argued that even if the pleas were not coupled -- as indeed they

weren’t -- his decision to plead guilty was nonetheless not knowing

or voluntary because he mistakenly thought he had to accept his

plea agreement or his wife would not be permitted to plead guilty,

which he blamed on his ex-attorney, J. Michael Farrell, whom Tutis

had retained as the case moved toward trial in 2016.

     The Court conducted three full days of hearings exploring the

evolution of Tutis’ plea agreement, the conduct and knowledge of

Tutis’ prior attorney J. Michael Farrell, and the knowledge of

Jazmin   Vega   and   her   attorney,    Troy   Archie,   Esq.,   as   plea

negotiations unfolded, together with detailed analysis of the Rule

11 hearings of Tutis and Vega, the Tutis application for permission

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to enter a plea of guilty, the various draft plea agreements, and

the final plea agreements of Tutis and Vega.             Mr. Farrell, Mr.

Archie, and Ms. Vega all testified and were cross-examined.             Mr.

Tutis declined to testify at the end of those hearings, placing

his waiver on the record.      (Tr. June 26, 2017 at 147-150.)

     This Court held, in a 51-page Opinion filed November 13, 2018

[Docket   Item   556]   (hereafter   “November    13th    Opinion”),   that

Defendant Tutis failed to demonstrate a fair and just reason for

requesting the withdrawal of his guilty plea.            Namely, the Court

found:    (1) the Defendant does not assert his innocence in any

plausible way (as explained in Part III.A.1 of the November 13th

Opinion); (2) the Defendant does not present a strong reason

justifying the withdrawal of the plea for lack of a Hodge colloquy

because the pleas were not packaged, or because Tutis did not

understand the pleas were unpackaged and would not have pled guilty

in any event (as explained in Part III.A.2 of the November 13th

Opinion).    As to the later point, the Court did not credit the

testimony of former attorney Farrell that he himself misunderstood

the pleas to be packaged, and the Court found that Farrell’s

testimony and self-confession of being inadequate defense counsel

in advising the guilty plea was false and motivated by the corrupt

desire to help his former client with untruthful testimony (as

explained in Parts II.H and III.A.2.b of that Opinion).          Moreover,

after considering all the circumstances, the Court found Mr. Tutis

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had not shown he would have gone to trial and rejected the final

plea offer that had achieved the favorable bargaining points that

Tutis had demanded as negotiations evolved, including preservation

of the right to appeal certain pretrial rulings, dismissal of

substantial weapons charges, and dismissal of the prospect of an

enhanced penalty under 21 U.S.C. § 851, all in order to confront

the mountain of evidence consisting of numerous inculpatory taped

conversations, documents, surveillances, and testimony awaiting at

trial (as explained in Parts II.(I) and III.B.2.b of the November

13th Opinion).    Moreover, the Court rejected Defendant’s claim and

Farrell’s testimony that Farrell had been confused and ineffective

as   Tutis’   counsel   in   advising       him   to   accept   the   final   plea

agreement, finding “Farrell’s testimony amounts to a clumsy and

unethical attempt by ex-counsel to ‘fall on his sword,’ albeit a

fabricated sword, for the benefit of setting aside a conviction.”

(November 13th Opinion at pp. 32-33 & 44-45; see Parts II.H &

III.A.2).

      Having failed in his effort to withdraw his guilty plea on

the ground that it was not voluntary, and that he felt coerced to

help his wife and would otherwise have gone to trial, and arguing

that Farrell was ineffective counsel in the guilty plea process,

Tutis now claims that he should be permitted to withdraw his plea

on the ground it was not knowing and intelligent, due to the

ineffective assistance of his prior counsel J. Michael Farrell who

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mistakenly advised him to accept the plea.        The two claims -- lack

of voluntariness in the 2017 motion to withdraw his guilty plea

and his present motion claiming a mistaken advice from his attorney

causing Tutis’ lack of knowledge that he did not have to plead

guilty to “save” his wife -- are directly related.          Both depend on

the essential factual predicate that Tutis and attorney Farrell

were both confused about whether Tutis’ plea had to be a package

deal with Vega’s plea; similarly, both depend upon determining

whether this mistake or confusion actually mattered, that is,

whether   Tutis   would    have   elected    to   go   to   trial,   facing

substantially increased charges that were otherwise mooted by the

guilty plea, if he understood that his wife’s guilty plea no longer

depended on his decision.

     Moreover, both the 2017 motion and the current one are motions

to withdraw the plea pursuant to Rule 11(d)(1)(B), which requires

consideration, as a first factor, whether the defendant asserts

his innocence, United States v. Siddons, 660 F.3d 699, 703 (3d

Cir. 2011), which “must be buttressed by facts in the record that

support a claimed defense” and must “sufficiently explain the

contradictory position he took during the plea colloquy.”               Id.

Regarding Defendant’s 2017 motion, the Court found the motion was

“bereft of any proffer of facts in the record casting doubt on

Tutis’ guilt,” nor was there any proffer that some element of guilt

was missing or even debatable.           (November 13th Opinion at 38)

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[Docket Item 556].      The Court also found that Defendant’s initial

motion failed to explain how his prior Rule 11 hearing testimony

under oath, admitting that he was guilty as an organizer, leader,

manager, or supervisor of the charged conspiracy to distribute 150

to 450 kilograms of cocaine and approximately 26 kilograms of

heroin,     coupled    with   similar       detailed   admissions    of    money

laundering, was incorrect or untrue.            (Id. at 25-26, 38-40).

        The same is true of the present motion, namely, there is not

one word about having a viable defense to the charges or an

explanation of why his admissions of factual guilt in 2016 should

be disregarded now, other than his claim that he lied to the Court

when he pled guilty, to be discussed below. Accordingly, Defendant

fails to demonstrate any plausible claim of innocence to the

charges to which he pled guilty.

        This was confirmed by Tutis’ testimony upon the present motion

at a hearing on April 4, 2019.      He admitted he reviewed the wiretap

calls    from   the   extensive   criminal      investigation   of   the    drug

distribution conspiracy and heard himself on tape talking about

purchasing and selling multi-kilogram quantities of cocaine and

shipping drug proceeds to California and arranging for others to

receive shipments of the drugs to the locations he arranged in New

Jersey.    He testified he was aware that a firearm and $62,000 cash

as drug proceeds were found in the closet of his premises.                He was

aware that if he went to trial, the Government’s § 851 penalty

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enhancement notice would increase his mandatory minimum penalty to

240 months just for the drug conspiracy in the event of conviction.

     When asked why he admitted guilt in the Rule 11 colloquy in

his testimony of November 1, 2016, Tutis testified on April 4,

2019 that “[m]y testimony was not truthful,” that he basically

lied to protect his wife.       This time, Tutis testified in effect

that he “conspired with nobody,” and that while he was “selling

drugs,” he “didn’t conspire.”      This, of course, makes no sense, in

light of his admission, once again, in his April 4, 2019 testimony,

that he bought drugs from the alleged co-conspirators, and that

this group trafficked in 150 to 450 kilograms of cocaine and 26

kilograms of heroin.      He acknowledged he had agreements with the

others to buy or sell specified quantities of cocaine and heroin

at agreed-upon prices, the essence of the agreement required for

conspiracy to distribute drugs.          Similarly, concerning the money

laundering conspiracy, he again admitted on April 4, 2019, as he

had in his Rule 11 colloquy on November 1, 2016, that he conspired

with his wife, Jazmin Vega, to engage in their multiple trips to

banks for money laundering of drug proceeds, although he added on

April 4th that it was “not all drug money” because some portion

came from his legitimate businesses.            This, of course, is no

defense to the charged conspiracies.

     His April 4th testimony contained a litany of lies wherein he

said he never read or understood his final plea agreement, contrary

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to his November 1st testimony at the Rule 11 hearing and his

Application form for that hearing. On re-direct testimony on April

4th, Tutis placed the blame on Farrell for allegedly advising him

to lie to the Court at the Rule 11 hearing.


II.   DISCUSSION

      A.    Standard for Withdrawal of Guilty Plea

      Rule 11(d)(2)(B), Fed. R. Crim. P., provides in relevant part

that “[a] defendant may withdraw a plea of guilty ... (2) after

the court accepts the plea but before it imposes sentence if: ...

(B) the defendant can show a fair and just reason for requesting

the   withdrawal.”       For   withdrawal   of     a    guilty     plea   before

sentencing, the defendant must meet a “substantial” burden of

demonstrating the “fair and just reason” for withdrawal.                  United

States v. Siddons, 660 F. 3d 699, 703 (3d Cir. 2011).                      Thus,

“[o]nce a court accepts a defendant’s guilty plea, the defendant

is not entitled to withdraw that plea simply at his whim.”                United

States v. Jones, 336 F.3d 245, 252 (3d Cir. 2003).

      “When determining whether a defendant has shown a ‘fair and

just reason’ for withdrawing a plea, a district court must consider

whether:     ‘(1) the defendant asserts his innocence; (2) the

defendant proffered strong reasons justifying the withdrawal; and

(3)   the   government   would   be   prejudiced       by   the   withdrawal.’”




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Siddons, 660 F.3d at 703 (quoting United States v. King, 604 F.3d

125, 139 ((3d Cir. 2010)).

       Here Defendant Tutis asserts that he should be allowed to

withdraw his plea because he received ineffective assistance of

counsel and would not have pled guilty but for his prior attorney’s

confusion and bad advice, in violation of his constitutional right

to effective assistance.       He alleges that this supplies a fair and

just reason to with draw his plea.

       The parties agree that Tutis bears the burden of establishing

his    former     counsel’s    ineffectiveness    under    Strickland    v.

Washington, 466 U.S. 668 (1984).          See Smith v. Robbins, 528 U.S.

259, 285 (2000); United States v. Davies, 394 F.3d 182, 189 (3d

Cir. 2005).     To meet that burden, Tutis must satisfy Strickland’s

two-part test.      First, Tutis must show that his former counsel’s

representation was not “within the range of competence demanded of

attorneys in criminal cases.”         Hill v. Lockhart, 474 U.S. 52, 56

(1985) (internal quotation marks omitted).            Second, Tutis must

show     “prejudice”   --     i.e.,   that   former   counsel’s    alleged

deficiencies “affected the outcome” of the proceedings.             Id. at

58-59.      Thus, Tutis “had to demonstrate ‘a reasonable probability

that, but for counsel’s errors, he would not have pleaded guilty

and would have insisted on going to trial.’”          Premo v. Moore, 562

U.S. 115, 129 (2011) (quoting Hill, 474 U.S. at 59).

       B.     Ineffective Assistance of Counsel

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      At the outset, there is no issue of fact in this second motion

that was not already presented and decided in the first one, in

which Defendant Tutis fully participated.          Nonetheless, the Court

will address these issues under the Strickland rubric and make its

findings   accordingly,    drawing    from   the   first   motion   and   the

November 13th Opinion.

            1.   Whether Prior Counsel was Ineffective

      First, as to Farrell’s alleged ineffective assistance of

counsel, the issue was already raised, testimony taken, and the

issue decided in the first motion. Tutis’ reply brief in the first

motion [Docket Item 452] submitted the certification of J. Michael

Farrell [Docket Item 452-2], in which Farrell stated, among other

things, that he never informed Tutis that the pleas were unpackaged

because he did not know.          The Government pointed out, in its

surreply [Docket Item 453] that “the inclusion of Mr. Farrell’s

certification to the Motion has made the Motion akin to a Section

2255 motion based on alleged ineffective assistance of counsel.”

[Id. at p.2.]    The Government argued that Farrell’s statement, if

true, was “tantamount to an admission that Farrell did not fully

read and/or understand the final plea agreement so as to render

appropriate and competent advice to Tutis.           That statement also

directly contradicts Mr. Farrell’s statements at the Tutis change

of plea hearing.”     [Id. (footnote omitted).]       As the motion would

involve probing discussions between attorney and client that were

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otherwise privileged, the United States sought a determination

that the attorney-client privilege as to plea negotiations and

discussions had been waived by Defendant placing the effectiveness

of advice and preparation of defense counsel into play and sought

leave to question Farrell and to review Farrell’s case file. [Id.]

All parties agreed with the Government’s characterization and also

that the attorney-client privilege was waived by Tutis’ claim of

reliance on advice of counsel that was incorrect.             [Docket Item

456, Memorandum Opinion and Order of April 28, 2017 at 1.]               Mr.

Tutis himself was questioned at the hearing on April 26, 2017 on

the Government’s claim of waiver of the privilege, and upon the

record he waived his attorney-client privilege relating to his

claim that Farrell had ineffectively represented him by poor

preparation and bad advice when pleading guilty.          [Id. at 2, ¶¶ 4,

5.]

      Thus, the crucial point is that Tutis (and his current

counsel) knew, in April of 2017, two months before the hearings on

his motion to withdraw in June of 2017, that he had squarely placed

effectiveness of his former counsel, Mr. Farrell, into issue as a

basis to withdraw his plea of guilty.

      As discussed in the Court’s November 13th Opinion denying

Tutis’ motion to withdraw his guilty plea, ex-attorney Farrell

testified on June 21, 2017 and June 23, 2017, including testimony

about his own alleged self-confessed inadequate representation of

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Tutis at the time of his guilty plea.        As noted, Tutis declined to

testify at the June 2017 hearings regarding any advice Farrell did

or did not provide to him.     Mr. Archie and Ms. Vega also testified,

with Mr. Archie explaining that the pleas were uncoupled before

November 1st and that Mr. Farrell was aware of it.           The Court found

that Farrell’s testimony that he didn’t understand his client’s

plea and its unpackaged nature was not credible.          (Opinion of Nov.

13, 2018 at 31-33, 44.)         The Court further found that Farrell

attempted to manufacture an ineffective assistance of counsel

claim in a corrupt post-plea attempt to help his former client.

(Id. at 32-33, 43, 44-45.)       This Court instead credited Farrell’s

assurances from the November 1st plea hearing that his client’s

plea   was   knowing,   voluntary,     and   the   product    of   extensive

conversations and negotiations.        (Id. at 31-32.)

       The current testimony of Tutis on April 4, 2019, changes

nothing about the prior determinations of this Court.                  Tutis

introduces no evidence that was unavailable at the time his first

withdrawal motion was heard and adjudicated.          As discussed above,

Tutis’ testimony about the advice he received from Farrell is at

a 180° variance from what Tutis testified under oath in his Rule

11 hearing on November 1, 2016.       His new testimony -- that he lied

to this Court on November 1st about reading and understanding his

guilty plea, that Farrell told him to lie, and that he received no

real benefit from his November 1st plea agreement -- is incredible.

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The Court analyzed the statements of Farrell and Tutis from the

lengthy Rule 11 hearing (see Opinion of Nov. 13, 2018 at 21-28),

incorporated herein.          As with Farrell, the Court continues to

believe    Tutis’    testimony      in    his   extensive    November   1st    plea

colloquy    and      disbelieves         this    contrived      testimony     about

ineffective assistance.        Tutis and Farrell knew exactly what they

were doing on November 1st.

      In summary, as to the first prong of the Strickland test, the

Court finds that Tutis has failed to show that his former attorney

J. Michael Farrell’s representation surrounding the negotiations,

advice, and entry of Tutis’ guilty plea on November 1st was not

“within the range of competence demanded by attorneys in criminal

cases.”     Hill v. Lockhart, supra, 474 U.S. at 56.                        This is

sufficient reason to reject Defendant’s ineffective assistance of

counsel claim.

            2.      Whether Defendant has Shown Prejudice

      We   next     address   the    issue      of   whether,   if   Farrell    was

ineffective through lack of preparation and bad advice (which he

was not), did Farrell’s alleged deficiencies affect the outcome of

the proceedings?       Here, Defendant must demonstrate that, but for

Farrell’s errors, he would not have pled guilty and would have

insisted on going to trial.              Premo v. Moore, 562 U.S. 115 at 129

(quotations omitted).



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      This issue -- essentially whether Tutis would have opted for

trial if Farrell had advised that his plea was no longer essential

to his wife’s ability to plead guilty -- was likewise litigated

and decided in the first motion.           In Part II.I of the Opinion of

Nov. 13, 2018, entitled “Would Tutis Have Rejected Conditional

Plea if He Fully Understood it was not Packaged with Vega’s Plea?”

[Docket Item 556 at 33-36], the Court found that “Tutis has failed

to show that he would not have entered his plea of guilty if he

knew it was unpackaged.”        Id. at 33.        The simple facts, as found

in the November 13th Opinion, revealed that Tutis continuously

rejected the earlier packaged plea agreement offers because he

wanted to drive a harder bargain with respect to clawing back some

of the forfeited properties and preserving his right to appeal

certain   suppression       motion   decisions      by    a   conditional    plea

agreement    under   Rule    11(a)(2),     Fed.    R.    Crim.   P.   When    the

Government acceded in the unpackaged, conditional plea of November

1st, he accepted.     There was no trial strategy then, and there is

none now, by which Tutis would defend against the massive evidence

against him at trial.

      His recent testimony of April 4, 2019 does not change this

prospect -- he still has not indicated, nor has his current

attorney, what his strategy might be if his guilty plea was

nullified, and he opted to defend at trial.              His testimony that he

would have opted for trial rather than entering the favorable plea

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that he bargained for is not logical or credible.                Thus, whatever

former attorney Farrell’s conduct or advice was on November 1,

2016, Defendant Tutis has failed to establish the second Strickland

element, namely, that Tutis was prejudiced by it.

      C.     “Fair and Just Reason” for Withdrawal

      Defendant Tutis, in this second motion to withdraw his plea

of guilty, has proffered that the ineffective assistance by prior

counsel, Mr. Farrell, supplies “fair and just cause” to withdraw

his plea under Rule 11(d)(2)(B), Fed. R. Civ. P. Because the Court

has now twice rejected that ground, Defendant has failed to meet

his “substantial” burden under United States v. Siddons, 660 F.3e

at 703.

      Further, as found in the November 13th Opinion and repeated

today,     the   Court    finds    Defendant     Tutis   fails   to   assert   his

innocence in any plausible way.

      Finally, under the third Siddons factor, the Court finds the

Government would be somewhat prejudiced by the passage of time

from the October 2016 trial start date and today, two and one-half

years later, due to fading memories of persons testifying about

events in the indictment going back to 2010.                The Government had

conceded    in   the     first    motion,   in   early   2017,   that   its    only

prejudice would accrue from having to re-prepare for trial and to

replace one of the trial attorneys who retired (see Opinion of

Nov. 13, 2018 at 49-50), but overall, it was not claiming undue

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prejudice.     Now, in addition to those lesser types of prejudice

that are still present, the Government points out that at any trial

in late 2019, three years after this guilty plea was entered and

the evidence was put into boxes, witnesses would be called upon to

accurately recall events from the 2010-2014 period central to these

charges.     The Court recognizes this as an undue prejudice to the

Government, although not as weighty as the first two Siddons

factors -- that Defendant Tutis does not assert his innocence in

some meaningful way, and that Defendant has not proffered a

substantial reason justifying the withdrawal.             Thus, Defendant

falls short on all three Siddons factors.

III. CONCLUSION

      For these reasons, and for those stated in the Court’s Opinion

of November 13, 2018, Defendant Tutis ha failed to demonstrate

that he should be permitted to withdraw his plea of guilty, or

that his former attorney was constitutionally ineffective under

Strickland.    The motion will again be denied, and the accompanying

Order is entered.




April 26, 2019                            s/ Jerome B. Simandle
Date                                      JEROME B. SIMANDLE
                                          U.S. District Judge




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